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     Joshua George
 6
                                   UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
                                         SACRAMENTO DIVISION
 9

10

11   UNITED STATES,                                     Case No.: 2:18-cr-00266-WBS

12                         Plaintiff,
                                                        STIPULATION AND [PROPOSED] ORDER
13          vs.                                         TO VACATE MOTION HEARING

14   JOSHUA BILAL GEORGE,

15                         Defendant.

16

17          IT IS HEREBY STIPULATED AND AGREED between the Government, through Assistant
18   United States Attorney Robert Artuz, and Defendant Joshua George, through his undersigned
19
     counsel, that the February 18, 2020, hearing on an anticipated discovery motion to be filed by the
20
     defense be vacated.
21
            At the January 27, 2020, status hearing, the defense informed the Court that it was meeting
22

23   and conferring with the Government regarding discovery issues related to an anticipated motion to

24   suppress. The Court set a February 18, 2020, hearing for an anticipated discovery motion, as well as

25   an April 13, 2020, hearing on the motion to suppress. Following the status hearing, the parties
26   continued to confer, and the defense now does not anticipate filing a discovery motion. Therefore,
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     the February 18, 2020, hearing should be vacated. All other dates, including the April 13, 2020,
28
     hearing date and corresponding briefing schedule for the motion to suppress, should remain as set.
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 1          This Court has already ordered that time be excluded through April 13, 2020, pursuant to the
 2
     Speedy Trial Act.
 3

 4   IT IS SO STIPULATED:

 5

 6

 7   Dated: January 31, 2020                      Jeremy M. Delecino LLC

 8                                                    /S/ Jeremy M. Delecino
                                                  Jeremy M. Delecino
 9                                                Attorney for Defendant Joshua George

10

11   Dated: January 31, 2020                      NOLAN BARTON & OLMOS LLP

12

13                                                   /S/ Daniel B. Olmos
                                                  Daniel B. Olmos
14                                                Attorney for Defendant Joshua George

15

16
     Dated: January 31, 2020                      MCGREGOR W. SCOTT
17
                                                  United States Attorney
18
                                                  By: /S/ Robert Artuz
19                                                Robert Artuz
                                                  Assistant United States Attorney
20

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          Case 2:18-cr-00266-WBS Document 106 Filed 02/07/20 Page 3 of 3


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 3                                 UNITED STATES DISTRICT COURT
 4                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 5                                       SACRAMENTO DIVISION
 6

 7
     UNITED STATES,                                     Case No.: 2:18-cr-00266-WBS
 8
                           Plaintiff,
 9                                                      ORDER TO VACATE MOTION
                    v.                                  HEARING
10

11   JOSHUA BILAL GEORGE,

12                         Defendant.

13
            GOOD CAUSE HAVING BEEN SHOWN, and pursuant to stipulation by the parties, it is
14
     hereby ordered that the February 18, 2020, hearing on the anticipated defense discovery motion as to
15

16   defendant Joshua Bilal George be VACATED. All other dates, including the April 13, 2020, hearing

17   date and corresponding briefing schedule for the motion to suppress, will remain as set.
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19   Dated: February 7, 2020
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